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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England, Jr.                 Jit KAUR
Chief United States District Judge                 Docket Number: 0972 2:13CR00006-01
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Ms. Jit Kaur is requesting permission to travel to Vancouver, Canada, to attend the wedding of
her son. She provided the Probation Officer with a letter from the Consulate General of Canada,
granting her a temporary resident permit, which will expire November 8, 2015. Ms. Kaur is
current with all supervision obligations, and has paid her special assessment and restitution in
full. She is retired and receives Social Security benefits. The Probation Officer recommends
approval be granted.


Conviction and Sentencing Date: On May 22, 2014, Ms. Kaur was sentenced for the offense
of 18 USC 1341 – Mail Fraud (CLASS C FELONY).


Sentence Imposed: 36 months Probation; Firearms restrictions; DNA collection; a $100 special
assessment, and Restitution of $69,951.71.


Dates and Mode of Travel: Ms. Kaur will fly to Canada with her husband on November 4,
2015, returning November 7, 2015.


Purpose: Ms. Kaur will attend the wedding of her son in Canada.




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                                                                                      REV. 05/2013
                                                       TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Jit KAUR
         Docket Number: 0972 2:13CR00006-01
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                       Respectfully submitted,

                                         /s/Julie A. Fowler

                                       JULIE A. FOWLER
                                  United States Probation Officer

Dated:    October 27, 2015
          Roseville, California
          /jaf

                             /s/ Michael A. Sipe
 REVIEWED BY:              MICHAEL A. SIPE
                           Supervising United States Probation Officer




                                   ORDER OF THE COURT

          ☒     Approved           ☐      Disapproved



   October 27, 2015
 Date                                                Troy L. Nunley
                                                     United States District Judge




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                                                                                        REV. 09/2013
                                                         TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
